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                                                                                      FILED
                                                                          United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                          Tenth Circuit

                                FOR THE TENTH CIRCUIT                             May 16, 2025
                            _________________________________
                                                                              Christopher M. Wolpert
                                                                                  Clerk of Court
 ALLIANCE OF HEALTH CARE
 SHARING MINISTRIES,

        Plaintiff - Appellant,

 v.                                                             No. 25-1035
                                                    (D.C. No. 1:24-CV-01386-GPG-STV)
 MICHAEL CONWAY, in his official                                 (D. Colo.)
 capacity as Commissioner of the Colorado
 Division of Insurance,

        Defendant - Appellee.

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 TERRI BALDWIN, et al.,

        Movants.
                            _________________________________

                                         ORDER
                            _________________________________

        This matter is before the court on a motion for leave to file an amicus curiae brief

filed by the Leukemia & Lymphoma Society, the American Cancer Society, the

American Cancer Society Cancer Action Network, the American Lung Association, the

Colorado Center on Law and Policy, the Colorado Consumer Health Initiative, the

Colorado Gynecologic Cancer Alliance, the Muscular Dystrophy Association, and the

National Multiple Sclerosis Society.
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       The motion does not indicate if any party opposes the filing of the brief. See Fed.

R. App. P. 29(a)(2); 10th Cir. R. 27.1. On that basis, the court denies the motion without

prejudice to renewal.

       A renewed motion that complies with Rule 29(a)(2) and Tenth Circuit Rule 27.1

shall be filed on or before May 27, 2025.


                                             Entered for the Court



                                             CHRISTOPHER M. WOLPERT, Clerk




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